Case 1:15-cv-14139-MLW Document 74 Filed 07/25/19 Page 1 of 4

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

KIERAN O’HARA, on behalf of himself and
all other similarly situated individuals,

Plaintiff, Case No. 15-14139
V.
DIAGEO BEER COMPANY USA & DIAGEO
NORTH AMERICA, INC.

 

Defendants.

 

JOINT MOTION TO AMEND SCHEDULING ORDER

Plaintiff Kieran O’Hara (“O’Hara’”) and Defendants Diageo Beer Company USA &
Diageo North America, Inc. (“collectively “Diageo”) (O’Hara and Diageo collectively as
“Parties”) respectfully move the Court to amend the scheduling order. In support of this motion,
the Parties state as follows:

On May 13, 2019, this Court adopted the Parties’ Joint Proposed Scheduling Order.
Since that time, the Parties have conferred and have agreed to mediation in order to attempt to
resolve this matter. Mediation is currently scheduled for September 18 and 19, 2019. The
Parties have a good faith belief that this matter may settle at mediation. Therefore, the Parties
would prefer to wait until after the mediation to continue discovery and brief the class
certification issues in this case.

The Parties proposed a revised Scheduling Order as follows:

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Event Parties’ Proposed Deadline
Parties to report to the Court regarding settlement | No later than: November 1, 2019
attempts

Motion for Class Certification and any Expert No later than: January 24, 2020

Report(s) Supporting Class Certification

 

 

 

Deadline to Depose Plaintiffs Certification Thirty (30) days from filing of a Class

 

 

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